               Case 8:21-cv-01449-JLS-JDE Document 76 Filed 08/24/22 Page 1 of 5 Page ID #:892


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                   LOANDEPOT, INC.; ANTHONY HSIEH; PATRICK
           11      FLANAGAN; NICOLE CARRILLO; ANDREW C.
                   DODSON; JOHN C. DORMAN; BRIAN P. GOLSON; and
           12      DAWN LEPORE
           13      (Attorneys continued on next page)
           14                         IN THE UNITED STATES DISTRICT COURT
           15                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
           16      ARTHUR GARY LAFRANO and                    Case No. 8:21-cv-01449-JLS-JDE
                   ADAM DOBAN, Individually and on
           17      Behalf of All Others Similarly Situated,   NOTICE OF MOTION AND
                                                              MOTION TO DISMISS
           18                      Plaintiffs,                PLAINTIFFS’ AMENDED
                                                              CONSOLIDATED CLASS ACTION
           19            v.                                   COMPLAINT
           20      LOANDEPOT, INC.; ANTHONY
                   HSIEH; PATRICK FLANAGAN;                   Date:    December 16, 2022
           21      NICOLE CARRILLO; ANDREW C.                 Time:    10:30 a.m.
                   DODSON; JOHN C. DORMAN;                    Ctrm:    8A
           22      BRIAN P. GOLSON; DAWN LEPORE;              Judge:   Josephine L. Staton
                   GOLDMAN SACHS & CO. LLC;
           23      BOFA SECURITIES, INC.; CREDIT
                   SUISSE SECURITIES (USA) LLC;
           24      MORGAN STANLEY & CO. LLC;
                   BARCLAYS CAPITAL INC.;
           25      CITIGROUP GLOBAL MARKETS
                   INC.; JEFFERIES LLC; UBS
           26      SECURITIES LLC; WILLIAM BLAIR &
                   COMPANY, L.L.C.; JMP SECURITIES
           27      LLC; PIPER SANDLER & CO.;
                   RAYMOND JAMES & ASSOCIATES,
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Crutcher LLP                    CONSOLIDATED CLASS ACTION COMPLAINT
                                     CASE NO. 8:21-CV-01449-JLS-JDE
               Case 8:21-cv-01449-JLS-JDE Document 76 Filed 08/24/22 Page 2 of 5 Page ID #:893


               1   INC.; NOMURA SECURITIES
                   INTERNATIONAL, INC.; and
               2   AMERIVET SECURITIES, INC.,
               3                  Defendants.
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                                CONSOLIDATED CLASS ACTION COMPLAINT
                                     CASE NO. 8:21-CV-01449-JLS-JDE
               Case 8:21-cv-01449-JLS-JDE Document 76 Filed 08/24/22 Page 3 of 5 Page ID #:894


               1            TO ALL PARTIES HEREIN AND THEIR ATTORNEYS OF RECORD:
               2            PLEASE TAKE NOTICE that on December 16, 2022, at 10:30 a.m., or as soon
               3   thereafter as the matter may be heard, in Courtroom 8A, First Street U.S. Courthouse,
               4   350 West 1st St., Los Angeles, CA 90012, before the Honorable Josephine L. Staton,
               5   Defendants, by and through their counsel of record, will and hereby do move the Court
               6   to enter an order dismissing Plaintiffs’ Amended Consolidated Class Action Complaint
               7   (“CAC”) for violations of Sections 10(b) and 20(a) of the Securities Exchange Act of
               8   1934 (“Exchange Act”) and Sections 11 and 15 of the Securities Act of 1933 (“Securities
               9   Act”).
           10               Plaintiffs’ claim under Section 10(b) of the Exchange Act should be dismissed for
           11      failure to state a claim pursuant to Federal Rule of Civil Procedure 12(b)(6), Rule 9(b),
           12      and the Private Securities Litigation Reform Act of 1995 (“PSLRA”) because Plaintiffs
           13      fail to plead falsity, scienter, or loss causation. Plaintiffs’ claim under Section 11 of the
           14      Securities Act should be dismissed for failure to state a claim pursuant to Rule 12(b)(6)
           15      and Rule 9(b) because Plaintiffs fail to plead falsity. Plaintiffs’ claims under Section
           16      20(a) of the Exchange Act and Section 15 of the Securities Act should be dismissed for
           17      failure to plead a primary violation of the securities laws. Finally, the Court should
           18      strike certain allegations from the CAC pursuant to Rule 12(f).
           19               This motion is based on this Notice of Motion, the Memorandum of Points and
           20      Authorities, the Declaration of Alexander K. Mircheff and accompanying exhibits, the
           21      Request for Judicial Notice, the complete files and records in this action, and any
           22      additional material and argument submitted in connection with this motion.
           23               Defendants make this motion following a conference with Plaintiffs’ counsel
           24      pursuant to L.R. 7-3, which took place on August 10, 2022.
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                                CONSOLIDATED CLASS ACTION COMPLAINT
                                     CASE NO. 8:21-CV-01449-JLS-JDE
               Case 8:21-cv-01449-JLS-JDE Document 76 Filed 08/24/22 Page 4 of 5 Page ID #:895


               1   Dated: August 24, 2022             Respectfully submitted,
               2                                      GIBSON, DUNN & CRUTCHER LLP
               3
                                                      By: /s/ Craig Varnen
               4                                         Craig Varnen
                                                         Alexander K. Mircheff
               5                                         Michael J. Kahn
               6                                          Attorneys for Defendants LOANDEPOT,
                                                          INC.; ANTHONY HSIEH; PATRICK
               7                                          FLANAGAN; NICOLE CARRILLO;
                                                          ANDREW C. DODSON; JOHN C.
               8                                          DORMAN; BRIAN P. GOLSON; and
                                                          DAWN LEPORE
               9
                   Dated: August 24, 2022             ORRICK, HERRINGTON & SUTCLIFF LLP
           10

           11                                         By: /s/ Alexander K. Talarides
                                                         James N. Kramer
           12                                            Alexander K. Talarides
                                                         Kevin M. Askew
           13                                            Jennifer Keighley (Pro Hac Vice)
           14                                             Attorneys for the Underwriter Defendants
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                                    CASE NO. 8:21-CV-01449-JLS-JDE
               Case 8:21-cv-01449-JLS-JDE Document 76 Filed 08/24/22 Page 5 of 5 Page ID #:896


               1                               CERTIFICATE OF SERVICE
               2         I hereby certify that on this the 24th day of August, 2022, I have electronically
               3   filed the foregoing document with the Clerk of the Court using the CM/ECF system.
               4   Notice of this filing will be sent to all parties and counsel of record by operation of the
               5   Court’s CM/ECF system. Parties may access this filing through the Court’s electronic
               6   filing system.
               7                                                  /s/    Craig Varnen
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                                     CASE NO. 8:21-CV-01449-JLS-JDE
